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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                    LONDON DIVISION

 ROBERT MAY, as Administrator for the           )   Cause No. 6:09-165
 Estate of Thomas May, and CHRISTOPHER          )
 HALL, as Administrator for the Estate of       )
 Bradley Hall and MATTHEW BENJAMIN              )
 COOLEY,                                        )
                                                )
                        Plaintiff,              )
                                                )
        v.                                      )
                                                )
 FORD MOTOR COMPANY,                            )
                                                )
                        Defendant.              )

               DEFENDANT FORD MOTOR COMPANY’S MEMORANDUM
                IN SUPPORT OF ITS MOTION IN LIMINE TO EXCLUDE
                 EVIDENCE OF SUBSEQUENT REMEDIAL MEASURES

        The Defendant, Ford Motor Company (“Ford”) hereby submits its Memorandum in

 support of its Motion in Limine to exclude evidence of, or reference to, subsequent remedial

 measures or design changes to Ford vehicle lines other than the 2001 Ford Taurus.

                                  I. THE DISPUTED EVIDENCE

        Ford anticipates that Plaintiffs will seek to offer evidence that Ford’s design of other

 vehicle lines constituted a remedy for alleged defects in the subject 2001 Taurus. Because this

 proposed evidence relates to subsequent remedial measures, it should be excluded.

                                     II. LEGAL ARGUMENT

        The Federal Rules of Evidence bar evidence of subsequent remedial measures to prove

 liability or culpable conduct:

                When, after an injury or harm allegedly caused by an event,
                measures are taken that, if taken previously, would have made the
                injury or harm less likely to occur, evidence of the subsequent
                measures is not admissible to prove negligence, culpable conduct,



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                a defect in a product, a defect in a product’s design, or a need for a
                warning or instruction.

 Fed. R. Evid. 407.

        In Wilkinson v. Carnival Cruise Lines, Inc., 920 F.2d 1560 (11th Cir. 1991), the court

 found reversible error where the district court had admitted certain testimony giving rise to “the

 precise inference of negligence that Rule 407 was designed to avoid.” Id. at 1568-69. Citing to

 the advisory committee’s notes on Rule 407, the Court of Appeals for the Eleventh Circuit stated

 that the underlying justification for excluding evidence of subsequent remedial measures is “the

 social policy of encouraging people to take safety precautions.” The Court further noted that

 “‘people who take post-accident safety measures are doing exactly what good citizens should do

 .... [C] ourts do not wish to sanction procedures which appear to punish praiseworthy behavior.’

 “ Id. at 1569, n. 19, quoting Lempert & Saltzburg, A Modern Approach to Evidence 187-89

 (1977); see also Andres v. Roswell-Windsor Village Apartments, 777 F.2d 670, 674 (11th Cir.

 1985) (trial court properly refused to allow tenant to introduce evidence of subsequent remedial

 measures by landlords in personal injury action). Ford should not be penalized for engaging in

 the “socially desirable, good citizen behavior” of continually upgrading and improving its

 products. Wilkinson, supra.

        Kentucky courts have also expressed concern about the effect of admitting evidence of

 subsequent changes or repairs on a manufacturer’s willingness to improve its products. As

 explained by Kentucky’s highest court in Fourseam Coal Corp. v. Barnett, 240 S.W.2d 544, 547

 (Ky. 1951):

                There are two reasons why evidence of subsequent repairs should
                not be admitted. One is that, while it may be necessary to
                subsequently repair the appliance, it does not follow from that that
                the appliance was defective at the time of the accident. The other
                reason is that, if such evidence were admitted, it would have a



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                tendency to cause employers to omit making needed repairs for
                fear that the precaution thus taken by them could be used as
                evidence against them.

        Rule 407 restates a basic tenet that has long been accepted in the courts. It encourages

 persons to improve their products, property, services and customs without risk of prejudicing any

 court proceeding and consequently delaying implementation of improvements. See, e.g., Voynar

 v. Butler Mfg. Co., 463 So.2d 409 (Fla. 4th DCA 1985) , rev. denied, 475 So.2d 696 (Fla. 1985)

 (“the rationale behind rule 407 is that people in general would be less likely to take subsequent

 remedial measures if their repairs or improvements would be used against them in a lawsuit

 arising out of a prior accident. By excluding this evidence defendants are encouraged to make

 such improvements”).

        Moreover, a majority of federal circuit courts hold that the policies behind Rule 407

 apply equally to claims grounded in strict liability as to ones based on negligence principles.

 See, e.g. Werner v. Upjohn Co., 628 F.2d 848, 857 (4th Cir. 1980) (“it makes no difference to the

 defendant on what theory the evidence is admitted; his inclination to make subsequent

 improvements will be similarly repressed”); Grenada Steel Indus., Inc. v. Alabama Oxygen Co.,

 695 F.2d 883, 887 (5th Cir. 1983) (and cases cited therein).

        Evidence regarding design changes made to vehicle lines after the 2001 Taurus is

 inadmissible to show that the design changes are a remedy for alleged defects in the subject

 vehicle. The evidence Plaintiffs may seek to admit addresses differences between the subject

 vehicle and other vehicle lines. Any changes made to other vehicle lines have no relevance to

 whether the subject 2001 Taurus is defective.




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                                           III. CONCLUSION

        For the foregoing reasons, Ford Motor Company respectfully requests that this Court

 issue an order prohibiting Plaintiffs’ counsel and their witnesses from presenting evidence of, or

 making reference to, subsequent remedial measures or design changes in the Taurus or other

 vehicle lines for model years other than 2001.


                                                  FROST BROWN TODD LLC

                                                  By: /s/ Kevin C. Schiferl
                                                     Kevin C. Schiferl
                                                     Attorneys for Defendant FORD MOTOR
                                                     COMPANY




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                                         CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of January, 2011, a copy of the foregoing was filed
     electronically. Notice of this filing will be sent to the following parties by operation of the
     Court’s electronic filing system. Parties may access this filing through the Court’s system.
 Peter Perlman                                         F. Thomas Conway
 Peter Perlman Law Offices                             Conway & Conway
 388 South Broadway                                    1800 Kentucky Home Life Building
 Lexington, KY 40508                                   239 South Fifth Street
                                                       Louisville, KY 40202

 Mark L. Morgan                                        Janet Conigliaro
 426 South Fourth Street                               LeClair Ryan
 Danville, KY 40422                                    Fairlane Plaza North
                                                       290 Town Center Drive, Fourth Floor
                                                       Dearborn, MI 48126

 Kevin M. Murphy
 734 W. Main Street, Suite 400
 Louisville, KY 40202


                                                       /s/ Kevin C. Schiferl
                                                       Kevin C. Schiferl

 FROST BROWN TODD LLC
 201 N. Illinois St., Suite 1900, P.O. Box 44961
 Indianapolis, IN 46244-0961
 317-237-3800
 Fax: 317-237-3900
 kschiferl@fbtlaw.com



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